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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JANE DOE 43,

                   Plaintiff,                                COMPLAINT

 vs.                                                 JURY TRIAL DEMANDED

 JEFFREY EPSTEIN, GHISLAINE                                   CASE NO.:
 MAXWELL, SARAH KELLEN, LESLEY
 GROFF, AND NATALYA MALYSHEV,

                 Defendants.


       Plaintiff Jane Doe 43, by and through her undersigned counsel, for her

claims against Defendants Jeffrey Epstein, Ghislaine Maxwell, Sarah Kellen,

Lesley Groff, and Natalya Malyshev, alleges upon personal knowledge with

respect to her own acts and status and upon information and belief as to all other

matters, as follows:

       1.     This cause of action arises under federal statutes and jurisdiction is

proper under 28 U.S.C. § 1331.

       2.    Plaintiff files this Complaint under a pseudonym in order to protect

her identity because this Complaint makes allegations of a sensitive sexual nature

and disclosure of Plaintiff's name publicly will cause further harm to her.

       3.    At all times material to the events alleged in this cause of action the

Plaintiff was a citizen of South Africa residing in New York, New York.

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     4.     At all times material to this cause of action Defendant Jeffrey Epstein

had multiple residences, including in New York, New York and the United States

Virgin Islands. He is currently a citizen of the United States and a resident of New

York and the U.S. Virgin Islands.

     5.     At all times material to this cause of action Defendant Jeffrey Epstein

was an adult male born in 1953.

     6.     At all times material to this cause of action Defendant Ghislaine

Maxwell was residing in in New York, New York and was a citizen of Great

Britain and France.

     7.     At all times material to this cause of action Sarah Kellen was residing

in New York, New York, and, on information and belief, was a citizen of the

United States.

     8.     At all times material to this cause of action Lesley Groff was residing

in New York, New York and, on information and belief, was a citizen of the

United States.

     9.     At all material times, Natalya Malyshev was residing in New York,

New York and, on information and belief, was a citizen of the United States.

    10.     Including because a substantial part of the events and omissions

giving rise to this cause of action occurred in the Southern District of New York,

venue is proper in that District. 28 U.S.C. § 1391(b)(2)

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     11.     At all times material to this cause of action, Defendants Jeffrey

Epstein, Ghislaine Maxwell, Sarah Kellen, Lesley Groff, and Natalya Malyshev

owed a duty to Plaintiff to treat her in a non-negligent manner and not to commit

or conspire to commit intentional or tortious illegal acts against her.

                           FACTUAL ALLEGATIONS

     12.     At all times material to this cause of action Defendant Jeffrey Epstein

was an adult male over 50 years old. Defendant Epstein is known as a billionaire

who uses his extraordinary wealth to commit illegal sexual crimes in violation of

federal and state statutes and to employ numerous others, including the named

Defendants, to conspire and assist in committing those crimes and additional torts

as well as to protect and conceal his crimes and torts from being discovered.

     13.     Defendant Epstein displays his enormous wealth, power and influence

to his employees; to the victims procured for sexual purposes; and to the public in

order to advance and carry out his crimes and torts.           At all relevant times,

Defendant Epstein owned and continues to own, directly or through nominee

individuals used to conceal his interests, a fleet of airplanes, motor vehicles, boats

and one or more helicopters. He owned and owns numerous properties and homes,

including a 51,000-square-foot mansion in Manhattan; a $30 Million, 7,500-acre

ranch in New Mexico; a 70-acre private island formerly known as Little St. James

in or near St. Thomas, U.S. Virgin Islands; a mansion in London, England; a home

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in Paris, France; and a mansion in Palm Beach County, Florida. The allegations

herein primarily concern the defendant’s conduct while at his townhouse in New

York; on one or more of his private airplanes; and on his private island in the

United States Virgin Islands.

     14.     Defendant Epstein has a compulsive sexual preference for young

females as young as 13 and as "old" as 25. Defendant had sex with young females

virtually every day and assisted in the development and execution of a sex

trafficking scheme designed to fulfill his sexual desires.

     15.     Defendant Maxwell was for decades the highest-ranking employee of

the Defendants’ sex trafficking enterprise. She herself recruited young females;

oversaw and trained other recruiters on how best to recruit girls for sex; developed

and executed schemes designed to recruit young females; and ensured that all

participants of the Defendants’ sex trafficking scheme acted in certain specific

ways in order to advance the purposes of the scheme and conceal it from law

enforcement.

     16.     Defendant Kellen recruited young females and maintained Epstein's

sex schedule in order to ensure that he was not without the sexual favors of young

females for any extended period of time. Defendant Kellen also handled travel

arrangements for the various females being exploited for sexual purposes.



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Defendant Kellen reported directly up the enterprise’s line of authority to

Defendant Maxwell.

     17.     Defendant Epstein employed many recruiters of young females. The

nature of the Defendants’ sex trafficking scheme enabled victims themselves, such

as Defendant Malyshev, to elevate their status to that of a paid recruiter of other

victims. Recruiters were taught by Defendants Epstein and Maxwell to inform

targeted victims that Epstein possessed extraordinary wealth, power, resources and

influence; that he was a philanthropist who would help female victims advance

their careers and lives; and that the recruits needed only to provide Epstein with

body massages in order to avail themselves of his financial assistance and

influence.   In fact, however, these representations were fraudulent.    The vast

majority of girls were required to perform intimate sexual acts at the Defendants’

direction and the Defendants did not help or intend to help advance the victims’

careers.

     18.     Defendant Groff coordinated schedules between Defendant Epstein

and the various young females used for sex; made travel arrangements for the girls;

tended to their living needs; and communicated with them in order to maintain

their compliance with the rules of behavior imposed upon them by the enterprise.

     19.     The Defendants, led primarily by Defendants Epstein and Maxwell,

fulfilled Epstein's compulsive need for sex with young females by preying on their

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personal, psychological, financial, and related vulnerabilities. The Defendants’

tactics included promising the victims money, shelter, transportation, employment,

admission into educational institutions, educational tuition, and other things of

value in exchange for sex.

    20.     Defendants’ sex trafficking venture and enterprise operated in a

hierarchal structure with Defendants Jeffrey Epstein and Ghislaine Maxwell at the

top and underlings below. Underlings included the other named Defendants as

well as unnamed co-conspirators such as various housekeepers and butlers; an

airplane pilot; and various employees, assistants and associates. Wittingly and

unwittingly, such underlings performed their respective roles with the purpose and

effect of insuring that the enterprise supplied young females to Defendant Epstein

and others for sexual purposes.    At all times materials to this complaint, the

venture and enterprise was a group of two or more individuals associated in fact

and deed.

    21.     Defendants Epstein and Maxwell, with help from assistants, associates

and underlings, recruited and procured hundreds of girls over the decades of the

operation of their scheme. Such recruitment and procurement included fraud,

coercion, the threat of coercion, and a combination of these and similar tactics.

Following the Defendants’ recruitment and procurement of the females to join

Epstein in New York and the U.S. Virgin Islands, the Defendants used fraudulent

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promises, coercion, and threats of coercion in order to entice young females into

sex and, once sexual activities ensued, to cause them to remain in the enterprise.

The Defendants also transported females in interstate and foreign commerce and in

ways that affected interstate and foreign commerce.

    22.      Defendants   specifically   targeted     underprivileged,   emotionally

vulnerable and/or economically disadvantaged young females to join the

Defendants’ enterprise.

    23.      It is unknown exactly how long Defendant Epstein and Maxwell’s

aforementioned criminal and illegal enterprise operated, although it was at least

continuously and actively in operation from the mid-1990’s through and including

the calendar year 2007.

    24.      Defendant Epstein has continued the enterprise and conspiracy up to

the present time.

    25.      In 2005, Defendant Epstein and numerous co-conspirators within the

enterprise were the subjects of a Palm Beach, Florida Police Department criminal

investigation which revealed that Defendant Epstein had engaged in sexual

activities with dozens of young teenage children.        Each child was lured into

Defendant Epstein’s Palm Beach mansion with a promise that she would receive

money for providing him with a body massage, although once there, each child

was made to engage in a sex act in order to receive the promised compensation.

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Several were also made to engage in sex with another of Defendant Epstein's

female sexual traveling companions.

    26.      In 2006, the Palm Beach Police Department investigation was turned

over to the FBI and the United States Attorney's Office for the Southern District of

Florida. The United States Attorney's Office investigated Defendant Epstein and

his co-conspirators for their violations of numerous federal statutes, including 18

U.S.C. §1591, one of the statutory bases for this complaint.

    27.      The United States Attorney's investigation continued from 2006

through September 2007, at which time a Non-Prosecution Agreement was signed

between Jeffrey Epstein and the United States Attorney's Office deferring federal

prosecution of Defendant Epstein and his numerous co-conspirators for identified

federal sex crimes against more than 30 minors.

    28.      From late 2006 through September 2007, Epstein's team of lawyers

negotiated with the federal government in an effort to avoid the filing of the fifty-

three-page draft indictment of Epstein.      During these negotiations, Defendant

Epstein decamped from Palm Beach to New York and the U.S. Virgin Islands in

order to convey an image to prosecutors that he and his co-conspirators had

stopped committing sex crimes.

    29.      Remarkably, however—as this case will highlight—Defendant

Epstein and his co-Defendants, including the other defendants named herein, did

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not abandon their sex trafficking enterprise even while they were under state and

federal investigation for crimes committed in violation of 18 U.S.C. § 1591, among

other laws, and even as Defendants and their attorneys were busy arguing Epstein's

innocence and publicly defaming his victims as liars. Rather, Defendants merely

changed their style. Instead of targeting local Palm Beach Florida high school

girls, the Defendants transported young females from other places in the U.S. and

abroad and brought them to Defendant Epstein's mansion in New York and his

private island in the Virgin Islands.

     30.     In June of 2008, Epstein pleaded guilty to Florida state felony sex

offenses for procuring a minor for prostitution and soliciting prostitution by

minors.

     31.     Defendants Epstein and Maxwell developed and implemented a

sophisticated system designed to insulate them from criminal and civil liability by

protecting them from potential testimony of knowledgeable subordinates. The

system included requiring subordinates to sign confidentiality agreements covering

civil and criminal activity; requiring subordinates and victims to refrain from

speaking with law enforcement officials; requiring them to notify Defendant

Epstein’s lawyers in the event they (subordinates and victims) were contacted by

law enforcement officials; requiring them to accept the representation of attorneys

paid for by Defendant Epstein; requiring them to invoke the Fifth Amendment in

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response to questions they might be asked by investigators and prosecutors;

requiring them to invoke the Fifth Amendment in order to refuse to turn over

incriminating and non-incriminating evidence to law enforcement officers;

requiring them to destroy evidence or refuse to reveal knowledge of destroyed

evidence; and requiring them generally to refuse all cooperation with law

enforcement officials or investigations.

    32.      In 2005, Defendant Epstein and other co-conspirators, aware that law

enforcement officials were preparing imminently to execute a search warrant of his

home, removed computer systems that logged information about Epstein and his

co-conspirators' illegal and criminal conduct; the identities of witnesses; nude

photographs of young females; scheduling books; message pads; tangible items

such as vibrators and toys; and other incriminating matter.

    33.      Commencing in approximately October 2006 and continuing through

April 2007, Defendants recruited Plaintiff into their sexual enterprise by

fraudulently promising to use their connections and resources to secure her

admission to an institution of higher education at the expense of Defendant

Epstein.

    34.      Defendant Malyshev was working as one of the enterprise’s recruiters

of young females when she approached and recruited Plaintiff.



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     35.     Defendant Malyshev informed Plaintiff that she would introduce

Plaintiff to Defendant Epstein, whom she described as a wealthy philanthropist

who regularly used his wealth, influence and connections to help financially poor

females like Plaintiff achieve their personal and professional goals and aspirations.

     36.     Defendant Malyshev reported to her superiors, Defendants Kellen,

Groff and Maxwell, and was paid for her recruitment of young females, including

the recruitment of Plaintiff.

     37.     Defendant Malyshev introduced Plaintiff to Defendant Epstein, who

confirmed to Plaintiff that he would use his wealth and influence to have Plaintiff

admitted into The Fashion Institute of Technology, known as “F.I.T.”, in New

York City, or into a similar institute of higher learning offering a curriculum of

fashion industry training. Defendants Maxwell, Kellen and Groff each confirmed

this promise to Plaintiff many times.

     38.     Defendant Maxwell told Plaintiff she would need to provide

Defendant Epstein with body massages in order to reap the benefits of his and

Maxwell's connections. Maxwell and Epstein also threatened Plaintiff that, while

they had the ability to advance her education and career, they also had the ability to

make sure that she would obtain no formal education or modeling agency contracts

if she failed to provide the sexual favors desired by Defendant Epstein or abide by

the instructions given her by Defendants Epstein and Maxwell.

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     39.     Plaintiff reasonably believed that her compliance with Defendants’

demands was crucial to her physical, psychological, financial, and reputational

survival.

     40.     Defendant Maxwell instructed Plaintiff how to massage Epstein using

the techniques that he preferred.      During Plaintiff’s first massage, Defendant

Epstein converted it into a sexual act and made it known to Plaintiff that further

sex would be required in order for her to obtain the assistance he promised and to

avoid Defendants’ threatened retaliation if Plaintiff did not perform as demanded.

     41.     Defendants Maxwell and Epstein informed Plaintiff that other young

females in Defendant Epstein’s company were there not only to provide massages,

but also sexual acts.

     42.     Plaintiff was instructed dozens of times to provide body massages to

Defendant Epstein, both at his townhouse in New York and on his private island in

the U.S. Virgin Islands. Each time she was so instructed she was also required to

perform a sexual act with Defendant Epstein. The Defendants transported Plaintiff

in interstate and foreign commerce, and affecting interstate and foreign commerce,

for these sexual purposes.

     43.     During many sexual encounters, Defendant Epstein gave Plaintiff no

option, opportunity or choice not to participate in the prescribed sexual acts.



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    44.      Defendant Maxwell frequently controlled the assignment, or

“rotation,” of Plaintiff and the other young females concerning the time, place and

manner of the sex acts they were told to provide to Defendant Epstein. Defendants

Maxwell and Epstein also required Plaintiff to engage in sex acts with other

females.

    45.      Defendants Epstein and Maxwell intimidated, threatened, humiliated

and verbally abused Plaintiff in order to coerce her into sexual compliance. These

Defendants threatened Plaintiff with serious harm, as well as serious

psychological, financial, and reputational harm, with the purpose and effect of

compelling Plaintiff to perform and continue performing the demanded

commercial sexual activity.

    46.      On one occasion, after suffering verbal abuse and threats by

Defendants Epstein, Maxwell, and Kellen, Plaintiff attempted to escape from

Defendant Epstein’s private island.     A search party led by Defendant Epstein

located her and physically returned her to the main house on the island. Through

these and other actions, the Defendants intended to cause, and did cause, Plaintiff

to believe that failure to perform the actions they requested would result in

physical restraint and potential harm to her person, as well as harm to her

reputation, employability, and stable state of mind.



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        47.    Defendant Epstein’s wealth, influence, power and connections were

used both as an inducement to provide sex (in exchange for promises of support),

and as a means of threatening punishment (should Plaintiff refuse to comply with

Defendants’ instructions).

        48.    In addition to Plaintiff’s being trafficked on Defendant Epstein's

private plane, Defendants Groff, Maxwell and Kellen, with the knowledge of and

instruction by Defendant Epstein, arranged Plaintiff's commercial air travel on

numerous occasions for the purpose of causing Plaintiff to commit commercial sex

acts.

        49.    Defendants provided living quarters for Plaintiff at 301 East 66 Street,

New York; a car service for Plaintiff to use as needed; a cell phone; and other

valuable consideration in order to maintain Plaintiff's sexual compliance.

        50.    The relationship between Plaintiff and Defendants Epstein and

Maxwell was defined and characterized by Defendant Epstein’s and Defendant

Maxwell’s frequent and persistent fraudulent representations that they would

provide Plaintiff with a formal education and career advancement if she provided

sex to Defendant Epstein and others in the times, places and manners demanded by

Defendants. Plaintiff reasonably relied on those representations. In fact, however,

those representations were knowingly false, were not acted upon, and were made

by Defendants Epstein and Maxwell solely for the purpose of maintaining

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Plaintiff's financial dependence on, emotional vulnerability to, and sexual

compliance with Defendants Epstein and Maxwell and their demands. The other

Defendants intentionally repeated those representations and intentionally attempted

to convince Plaintiff that the representations were true and could be relied upon.

    51.      In January 2007, Defendants sent Plaintiff from the United States to

South Africa in part to recruit, for a promised fee, one or more aspiring female

models supposedly for Defendant Epstein to use as an alleged personal assistant.

Defendants Epstein and Maxwell continuously and frequently demanded that

Plaintiff fulfill this task as a condition of her receiving the education, career and

related benefits promised by Defendants Epstein and Maxwell.            Based upon

Plaintiff’s experience with Defendants, however, she did not believe that the

requested model would be placed in a legitimate position of employment with

Defendant Epstein but would, instead, be forced into sexual servitude. As a result,

Plaintiff deliberately refused to perform the recruitment assignment.

    52.      As part of their ongoing scheme, Defendants inflicted serious

emotional and psychological harm on Plaintiff as a means of coercing her to

continue engaging in commercial sex acts. While Plaintiff was in South Africa,

Defendants Epstein and Maxwell informed Plaintiff that she would not be

permitted to return to the United States to receive her promised education unless

she underwent a diet and lowered her body weight from 57 kilograms

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(approximately 125 pounds) to 52 kilograms (approximately 114 pounds).

Believing she had no practical choice in the matter, Plaintiff attempted to comply

with the order but, given her physical height and structure and her existing low

body weight, the diet imposed upon her placed her in serious physical jeopardy,

including kidney malfunction and extreme emotional and psychological distress.

    53.     Defendants Epstein and Maxwell called Plaintiff's parents in South

Africa to tell them that Defendants would take good care of Plaintiff when she

returned to the United States and that they would use their connections and

influence to have her admitted to F.I.T. or another well-regarded fashion school.

    54.     In February of 2007, Plaintiff returned to New York and was promptly

ordered by Defendant Maxwell to have sex with Defendant Epstein. Defendants

Maxwell and Epstein fraudulently promised her again that her sexual compliance

would be rewarded with admission to F.I.T. or a comparable college, a promise

which they knew to be false. Plaintiff knew that if she did not comply, Defendants

Maxwell and Epstein would use their power, influence and connections in order to

ensure that Plaintiff was unable to gain admission to F.I.T. or a comparable school,

and that they would destroy her career as they had destroyed the careers of others

who had failed to comply.

    55.     Defendants Epstein and Maxwell continued to provide Plaintiff with

things of value in exchange for Plaintiff's continued compliance with Epstein's

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sexual demands; however, they failed and refused to perform their promises to help

Plaintiff be admitted to F.I.T. or another school, or to provide financial support for

college admission or on-going education, false promises they repeatedly made in

order to coerce her into commercial sex acts.

     56.      Defendants Epstein and Maxwell's sexual demands on Plaintiff

continued while she was in New York or other geographic proximity to the

Defendants. In addition to their requiring Plaintiff to provide Defendant Epstein

with sex acts, Defendants continued to pressure her to lose excessive amounts of

body weight and offered her no opportunity to decline or resist their instructions.

     57.      In May, 2007, Plaintiff left the United States and did not return.

     58.      Defendants’ representations and promises were all false and

fraudulent. Their threats were considered by Plaintiff to be real and credible. All

such representations, promises and threats were made solely for the purpose of

coercing and otherwise inducing Plaintiff into prolonged sexual compliance.

Defendants knowingly benefitted financially and received things of value as a

result of their participating in their illegal enterprise.

                                        COUNT I

CAUSE OF ACTION AGAINST DEFENDANTS PURSUANT TO 18 U.S.C.
                         § 1595

     59.      Plaintiff adopts and realleges paragraphs 1 through 58 above.


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    60.      Defendants individually and together, within the special maritime and

territorial jurisdiction of the United States, in interstate and foreign commerce

and/or affecting interstate and foreign commerce, knowingly recruited, enticed,

harbored, transported, provided, maintained, patronized, solicited, threatened,

forced, and coerced Plaintiff to engage in commercial sex acts. Such actions by

Defendants were undertaken with knowledge and/or reckless disregard of the fact

that their threats of force, fraud, coercion, and combinations of such means would

be used, and were in fact used, in order to cause Plaintiff to engage in commercial

sex acts. In so doing, Defendants violated 18 U.S.C. §§1591 through 1594 and are

subject to civil causes of action under 18 U.S.C. § 1595.

    61.      Defendants additionally profited from the sex trafficking of Plaintiff;

obstructed investigations of the violations; attempted and conspired to violate, and

succeeded in violating, 18 U.S.C. §§ 1591 through 1595, by the commission of the

torts and crimes described in this complaint.

    62.      Certain property of Defendant Epstein's was essential to the

commission of the federal crimes and torts described herein, including the use of

multiple private aircraft including a Boeing aircraft (of make and model B-727-

31H with tail number N908JE) and a Gulfstream aircraft (of make and model G-

1159B with tail number N909JE). Such aircraft, along with other of Defendants’



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property, were used as means and instruments of Defendants’ tortious and criminal

offenses and, as such, are subject to forfeiture.

     63.     Additionally, Defendant Epstein’s New York mansion, located at 9

East 71st street, New York, New York, and his private island located in the United

States Virgin Islands, were used as means and instruments of Defendants’ tortious

and criminal offenses and, as such, are subject to forfeiture.

     64.     As a direct and proximate result of Defendants’ commission of the

aforementioned criminal offenses enumerated in Title 18 U.S.C. § 1591 et. seq.

and the civil remedies provided in § 1595, Plaintiff has in the past suffered and will

continue to suffer injury and pain; emotional distress; psychological and psychi-

atric trauma; mental anguish; humiliation; confusion; embarrassment; loss of self-

esteem; loss of dignity; loss of enjoyment of life; invasion of privacy; and other

damages associated with Defendants' actions. Plaintiff will incur medical and

psychological expenses. These injuries are permanent in nature and Plaintiff will

continue to suffer from them in the future. In addition to these losses, Plaintiff has

incurred attorneys’ fees and will do so in the future.




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       WHEREFORE, Plaintiff demands judgment against Defendants for

compensatory damages, attorney's fees, punitive damages and such other and

further relief as this Court deems just and proper. Plaintiff hereby demands trial by

jury on all issues triable as of right by a jury.

Dated: January 26, 2017


                                          Respectfully Submitted,

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